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FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION VIHAR 13 PH 3: 40
ALLOK US. CISTRICT Oy, |
JOENG MIN KIM and UNKYOUNG KIM, Oe ORTAICT GF Foca
Plaintiffs, Case No.: 99-1416-CIV-T-17B

DON C. KEENAN, CHARLES H. ALLEN,
KAREN D. FARLEY and CHARLES H.
ALLEN, P.C., d/b/a KEENAN FIRM and/or
KEENAN LAW FIRM, and D.C. KEENAN
& ASSOCIATES, P.C., d/b/a KEENAN
FIRM and/or KEENAN LAW FIRM,

Defendants.
/

 

PLAINTIFFS’ MOTION TO REOPEN CASE AND TO SET CASE FOR TRIAL

 

Plaintiffs JEONG MIN KIM and UNKYOUNG KIM, through their undersigned counsel in
this cause, and pursuant to this Court’s sixty day Order entered on January 18, 2001 move to
reopen this case and set it for trial on the following grounds:

1) This case was set for trial on the February 2001 trial calendar and was pre-tried on

January 8, 2001.

2) Shortly after the Pre-Trial Conference, Counsel for Plaintiffs advised the Court that
a settlement had been reached, and the parties set about preparing the settlement
documentation. Shortly thereafter, the Court entered its sixty day Order and the

parties continued exchanging drafts of the settlement documentation.

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3) After approximately two months of negotiation, it has become apparent that
agreement has not reached with regard to several salient features of the settlement,
specifically, the terms of a confidentiality agreement and the law governing that
confidentiality agreement, and Defendants’ insistence upon an expansive indemnity

and hold harmless agreement which was not negotiated as part of the settlement.

4) Counsel for Plaintiffs has become convinced that the parties have reached an

impasse and will not be able to consummate the settlement in the foreseeable future.

5) For the above reasons, Plaintiffs’ respectfully request that the Court rescind its sixty
day Order, schedule this cause for another Pre-Trial Conference, and set all

remaining issues for trial on the next available docket.

 

Hugh N. Smith, Esquire
Florida Bar No. 120166

SMITH & FULLER, P.A.

P. O. Box 3288

Tampa, Florida 33601
Telephone No. (813) 221-7171
Florida Bar No. 120166

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing has been forwarded by Certified Mail

to FRANK H. GASSLER, ESQUIRE, Fowler, White, Gillen, Boggs, Villareal & Banker, P.A., Post Office
Box 1438, Tampa, Florida 33601-1438, this 12 day of March, 2001.

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